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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  IN RE: ZANTAC (RANITIDINE)                                                      MDL No. 2924
  PRODUCTS LIABILITY                                                               20-MD-2924
  LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

  ________________________________/

  THIS DOCUMENT RELATES TO:
  ALL ACTIONS

  ________________________________/

                     NOTICE OF FILING APPLICATION TO SERVE
                    ON INITIAL CENSUS TEAM BY JORGE A. MESTRE

         In accordance with the Court’s Pretrial Order #1 [D.E. 13], Jorge A. Mestre submits the

  following application to serve on the initial census team.

  Dated: February 20, 2020                      Respectfully submitted,

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                                                By:    /s/ Jorge A. Mestre
                                                       JORGE A. MESTRE
                                                       Florida Bar No. 088145
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                            INITIAL CENSUS TEAM APPLICATION

          Pretrial Order #1 expresses the need for a census team that includes “unique insights on
  how best to organize and implement data analytics in this case.” D.E. 13. Our client, MSP
  Recovery (“MSP”), is a data analytics company that analyzes healthcare data and has pursued
  cases like this on behalf of health plans across the country. This unique capability and insight
  sets MSP apart from any other plaintiff in the case. Therefore, we request the opportunity to
  serve on the initial census team.

         More than 100 healthcare entities have assigned their claims to MSP and provided MSP
  with their healthcare data. MSP can analyze more than 700 million claims, made by more than 3
  million insureds, a number that grows each day, as healthcare entities transfer more data. MSP
  enriches its data with data from other sources, such as IQVIA—a database that collects
  information from more than 600 million patients. MSP’s ability to extract, normalize, map, and
  analyze massive volumes of data is precisely what’s needed on the census team.
          MSP has experience with census-type data analysis. For this case, MSP created
  algorithms to run on its data to determine: (1) how many insureds developed cancer after taking
  Zantac; (2) the dose and type of Zantac an insured took (oral, injection, or syrup); (3) how long
  the insured took Zantac; and (4) how much the health plan paid, and what type of benefit was
  involved (including over-the-counter coverage). The census team can apply their scientific
  knowledge and MSP’s data-analytic capabilities to conduct the vetting needed for an accurate
  and exhaustive census.
          In addition to MSP’s data capabilities, we have additional, unique insights from a
  leadership role in In re: Valsartan, Losartan, and Irbesartan Products Liability Litigation, MDL
  No. 2875 (D.N.J.)—a case that involves the identical cancer-causing agent at issue here—N-
  nitrosodimethylamine (“NDMA”). The transferee court appointed MSP and our firm to represent
  the interests of all health plans and third-party payers. Our firm also is co-chair of the discovery
  committee and co-chair of the third-party payer committee in the Valsartan MDL. That
  experience will be invaluable here, where the same type of early case management will be vital,
  whether in negotiating the entry of direct filing orders, service on foreign defendants, or the
  creation of fact sheets.
          We have shared our unique data and Valsartan insights with plaintiffs’ counsel since we
  filed the first third-party payer case in this MDL last November. We have participated in every
  plaintiffs meeting to date and spoken at related conferences.
          Our firm also is experienced in complex class action litigation, and obtained more than
  $500 million worth of benefits for approximately 8,000 people seeking access to a cure for
  hepatitis C. See Jones v. UnitedHealth Group, Inc., Case No. 15-cv-61144 (S.D. Fla.)
  (Rosenberg, J.); Oakes v. Blue Cross & Blue Shield of Florida, Inc., Case No. 16-cv-80028 (S.D.
  Fla.) (Rosenberg, J.). We were recognized for our class action work in the Daily Business
  Review’s 2017 Most Effective Lawyers. For further information about our experience, see here.
  We appreciate the Court’s consideration and look forward to working on this important case.



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                                   CERTIFICATE OF SERVICE


          I certify that on February 20, 2020, I electronically filed this document with the Clerk of

  the Court using CM/ECF. I also certify that this document is being served today on all counsel of

  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.

  Mail.

                                                        /s/ Jorge A. Mestre
                                                        JORGE A. MESTRE




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